              IN THE UNITED STATES COURT OF APPEALS
               FOR THE DISTRICT OF COLUMBIA CIRCUIT


 UNITED STEEL, PAPER AND FORESTRY,
 RUBBER, MANUFACTURING, ENERGY,
 ALLIED INDUSTRIAL AND SERVICE
 WORKERS INTERNATIONAL UNION,
 AFL-CIO,
           Petitioner,
                                          No. 24-1151
                 v.
                                           CONSOLIDATED WITH NOS.
 UNITED STATES ENVIRONMENTAL               24-1185, 24-1182, 24-1202, 24-1237
 PROTECTION AGENCY,
           Respondent,

 OLIN CORPORATION, ET AL.,
           Intervenors.

                  INTERVENOR’S MOTION FOR LEAVE
                    TO SUBMIT A CORRECTED BRIEF

     Olin Corp. (“Olin”), intervenor in support of petitioner, respectfully

requests leave to submit a corrected reply brief, in the form attached as an

exhibit. The grounds for this motion are as follows:

  1. This case involves petitions challenging a rule issued by respondent

Environmental Protection Agency (“EPA”) under the Toxic Substances




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Control Act. After no party opposed Olin’s intervention in support of

petitioner American Chemistry Council, the Court allowed such intervention.

The Court also accepted an intervenor in support of EPA.

  2. The Court subsequently issued a briefing order providing each group of

petitioners (industry and labor) with 10,400 words for an opening brief, and

Olin with 5,200 words. The order provided EPA with 20,800 words, and the

intervenor supporting EPA with 9,100 words. For the replies, each intervenor

received 5,200 words and Olin 2,600 words.

  3. The parties are utilizing a joint deferred appendix. The Court’s order

had specified that final briefs will be due at the same time as the deferred

appendix.

  4. Olin timely submitted a reply brief containing 2,599 words. That reply

brief erroneously omitted a section demarcating a summary of argument.

  5. To comply with this Court’s rules regarding the content of a reply brief,

Olin has prepared the attached corrected brief. This brief contains no

substantive changes. A paragraph has been moved to the beginning, before

the argument, to serve as the summary of argument; and the brief now

                                     2
includes headings demarcating the summary and then the argument itself.

Because the result would have had 2,602 words, the corrected brief deletes

two words from the body, with no change to the content of the argument.

   6. No party opposes this motion. American Chemistry Council, Texas

Chemistry Council, American Fuel & Petrochemical Manufacturers, and

American Petroleum Institute consent to the motion. EPA takes no position

and does not intend to file a response. United Steel, Paper and Forestry,

Rubber, Manufacturing, Energy, Allied Industrial and Service Workers

International Union, AFL-CIO, and Sierra Club also take no position.

   7. Accordingly, Olin asks the Court to allow the filing of a corrected reply

brief in the form of the attached exhibit.


February 6, 2025                             Respectfully Submitted,

                                             /s/ Keith Bradley
                                             KEITH BRADLEY
                                             KAYLA MARIE MENDEZ
                                             717 17th Street, Suite 1825
                                             Denver, CO 80202
                                             T: (303) 830-1776
                                             keith.bradley@squirepb.com



                                       3
    SAMUEL B. BALLINGRUD
    2550 M Street, NW
    Washington, DC 20037

    KATHERINE WENNER
    2000 Huntington Center
    41 South High Street
    Columbus, Ohio 43215
    SQUIRE PATTON BOGGS (US) LLP

    W. CAFFEY NORMAN
    2550 M Street, NW
    Washington, D.C. 20037
    Tel: (202) 460-9495
    caffeynorman@outlook.com
    NORMAN LAW & POLICY PLLC

    Counsel for Olin Corporation




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                                           /s/ Keith Bradley
                                           KEITH BRADLEY




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EXHIBIT A
             Oral Argument Scheduled for March 21, 2025
                            No. 24-1151



           United States Court of Appeals
                 for the District of Columbia Circuit


UNITED STEEL, PAPER AND FORESTRY, RUBBER MANUFACTURING, ENERGY, ALLIED
    INDUSTRIAL AND SERVICE WORKERS INTERNATIONAL UNION, AFL-CIO,
                               Petitioner,

                                  v.

                 ENVIRONMENTAL PROTECTION AGENCY,
                           Respondent.


                       Olin Corporation, et al.,
                             Intervenors


                     Consolidated with Case Nos.
                  24-1187, 24-1185, 24-1202, 24-1237

   PROOF REPLY BRIEF FOR INTERVENOR OLIN CORPORATION
     W. CAFFEY NORMAN
     2550 M Street, NW
  Washington, D.C. 20037
      T: (202) 460-9495
caffeynorman@outlook.com
NORMAN LAW & POLICY PLLC

        KEITH BRADLEY
    KAYLA MARIE MENDEZ
  717 17th Street, Suite 1825
      Denver, CO 80202
       T: (303) 830-1776
      F: (303) 894-9239
keith.bradley@squirepb.com

   SAMUEL B. BALLINGRUD
    2550 M Street, NW
   Washington, DC 20037

    KATHERINE WENNER
  2000 Huntington Center
    41 South High Street
   Columbus, Ohio 43215
SQUIRE PATTON BOGGS (US) LLP

 Counsel for Olin Corporation
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                          ARGUMENT SUMMARY

      TSCA has two key passages mandating risk evaluations regarding

chemical substances: the first sentences of subsections 6(a) and 6(b)(4)(A).

Both clearly indicate there should be multiple determinations about a given

chemical, corresponding to various activities involving it. EPA refuses to

confront the actual text. Instead, it relies on inferences from other passages—

provisions equally (sometimes more) consistent with Olin’s interpretation.

                                ARGUMENT

 I.   TSCA RISK DETERMINATIONS MUST BE ABOUT PARTICULAR
      ACTIVITIES.

      A.    EPA’s 6(a) authority depends on risk determinations about
            activities, not chemicals in isolation.

      Subsection 6(a) says EPA can impose regulations for a substance only

upon determining that “the manufacture, processing, distribution in

commerce, use, or disposal of a chemical substance ... presents an

unreasonable risk.”    15 U.S.C. § 2605(a).   Olin-Br.10-11.   That sentence

structure calls unambiguously for a determination whether a given activity

(manufacture, etc.) presents the risk. EPA offers no response—the silence is




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deafening. Were there any sensible way to read this passage other than what

Olin put forth, EPA would have surely presented it.

      EPA says “a chemical’s risk determination acts as a toll gate allowing a

chemical to pass to risk management or not.” Opp.54. That toll gate is the first

sentence of subsection 6(a)—text EPA refuses to acknowledge. Explicit in that

provision, the toll is a determination for the “manufacture” or some other

activity, not for the substance itself. Once past the toll gate, EPA says it

imposes regulatory requirements “to ensure the chemical substance ‘no

longer presents such risk.’” Opp.54 (quoting 15 U.S.C. § 2605(a)). “Such risk”

clearly refers to the risk described in the first sentence; “[t]he word ‘such’

usually refers to something that has already been ‘described,’” Slack Techs.,

LLC v. Pirani, 598 U.S. 759, 766 (2023). So EPA’s authority is to prevent the

unreasonable risk that triggered a 6(a) regulation, i.e., a risk presented by a

given activity.

      Olin never suggested such authority was “unlimited.”               Contra

Opp.54-55.    Rather, as EPA agrees, 6(a) authority depends on the risk

identified. Opp.54. If EPA deems a chemical an unreasonable risk, the “to the

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extent necessary” authority could touch every activity involving it—even

activities without unreasonable risks. Litigation counsel asserts “the use-

specific analysis of chemical exposures” “guides” the “calculus” of the

regulation. Id. EPA’s actual rule said the opposite: The risk determination

“has no bearing” on the 6(a) regulation. Olin-Br.9 (quoting 89 Fed. Reg.

37,028, 37,036 (May 3, 2024)).

      Regardless, EPA’s interpretation clearly means EPA could regulate

activities that do not pose risk, while the proper interpretation allows

regulation only as necessary to address the unreasonable risk from a given

activity. EPA’s methylene chloride rule illustrates the problem. EPA found

47 activities with this chemical present unreasonable risk, and 6 do not. Then,

using the “whole chemical” interpretation, EPA imposed crushingly tight

exposure limits across all activities. 89 Fed. Reg. 39,254, 39,255 (May 8, 2024)

(“[A]ll TSCA conditions of use … are subject to this final rule.”).

      The definition of “conditions of use” lists “manufacture” and other

activities. 15 U.S.C. § 2602(4). EPA believes that list conveys only that EPA

assesses a chemical’s whole “lifecycle.” Opp.32. By contrast, subsection 6(a)

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includes additional words making clear it refers to specific activities, not a

holistic “lifecycle.” It asks about unreasonable risks from “manufacture,” etc.,

but also from “any combination of such activities.” 15 U.S.C. § 2605(a). If (as

EPA contends) the 2602(4) list already covers the whole “lifecycle,” the “any

combination” phrase is superfluous.        Only Olin’s interpretation gives

meaning to these words: EPA can identify an unreasonable risk from a given

activity or arising from a combination of activities.

      B.    Paragraph (b)(4)(A) calls for multiple evaluations of a given
            substance.

      EPA insists the statute instructs it to “determine” a substance’s risks.

Opp.42. That claim ignores the literal text, which instructs EPA to “conduct

risk evaluations” of a “substance.” Olin-Br.12-13. “To determine” is the

purpose of the evaluations, not the “operative clause,” Opp.42.

      EPA theorizes that plural “risk evaluations” refers to evaluations of

multiple substances. Opp.48. That is not what paragraph (b)(4)(A) says. It

does not mandate “risk evaluations of chemical substances.” It mandates “risk

evaluations,” plural, for a “chemical substance,” singular. “Text specifying” a



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“plural, indicates that multiple” instances are intended, Life Techs. Corp. v.

Promega Corp., 580 U.S. 140, 149 (2017); the use of a “singular, not the plural” is

equally informative, see Hertz Corp. v. Friend, 559 U.S. 77, 93 (2010).       The

juxtaposition of singular and plural here must mean multiple evaluations for

a single substance. “[T]he ‘rules of grammar govern’ statutory interpretation.”

Nielsen v. Preap, 586 U.S. 392, 408 (2019).

      EPA rejects that commonplace understanding because other provisions

refer to a single risk evaluation for a given substance. Opp.48. None of them

contravenes     the   ordinary    English     meaning   of   paragraph (b)(4)(A).

Paragraph (b)(3)(A) requires EPA to “initiate a risk evaluation” following a

chemical’s high-priority designation. There is no reason the first evaluation,

triggered by the designation, would be the only evaluation. Paragraph (b)(3)(C)

notes that EPA will be conducting risk evaluations, and specifies a follow-up

task upon completion. Paragraphs (b)(4)(D), (F), and (G) describe parameters

for conducting a risk evaluation. The singular “evaluation” simply means

Congress was imposing requirements for each given evaluation. That does

not imply an evaluation about a substance is the only one about the substance.

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      EPA says “evaluations” is used in the plural “only ... when discussing

risk evaluation requirements under TSCA more broadly”—for which it cites

just one example. Opp.48. Nonetheless, “evaluations” is plural in the most

important sentence, the one mandating the evaluations; and that plural

juxtaposes the singular “substance.”

      At the end of that sentence appears the phrase “under the conditions of

use.” EPA observes that phrase is consistent with a single, whole-chemical

determination covering “all conditions of use.” Opp.49. But EPA ignores a

further textual clue: “Conditions of use” is plural in parallel with

“evaluations,” making it natural to read the sentence as calling for a risk

evaluation corresponding to a condition of use. Olin-Br.13.

      C.    EPA’s inferences from other provisions are ambivalent.

      Unwilling to face the principal text governing its regulatory authority,

EPA prefers to draw inferences from elsewhere. E.g., Opp.43. Those other

provisions are equally (or more) consistent with Olin’s interpretation.

      EPA thinks paragraph 6(c)(1) must mean determinations are on a

whole-chemical basis because this provision refers to “determine[ing] that a


                                       6
chemical substance presents an unreasonable risk.” Opp.43. But it was not

necessary for Congress to repeat, in so many words, a reference to the

“conditions of use” for which determinations are made.                   Instead,

paragraph (c)(1)   specifies   a    determination      “in   accordance       with

subsection (b)(4)(A).” 15 U.S.C. § 2605(c)(1). Congress thereby incorporated

the (b)(4)(A) terms, expressly directing multiple evaluations corresponding to

various conditions of use. EPA’s reading of TSCA gives this cross-reference

no meaning.

      Paragraph (i)(2) says a 6(a) rule is a final agency action, encompassing

“the associated determination ... under subsection (b)(4)(A) that a chemical

substance presents an unreasonable risk.”           15 U.S.C. § 2605(i)(2).   The

determination “associated” with a 6(a) rule must be that an activity presents

an unreasonable risk, because that is what section 6(a) requires. Supra 2. And,

yet again, (i)(2) incorporates the (b)(4)(A) terms, making it unnecessary to

repeat the phrase “conditions of use.” That this paragraph refers to “the

determination,”    singular,   is   unsurprising.      “[T]he”   associates    the




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determination with the 6(a) rule, and a given 6(a) rule would not—depending

on scope—necessarily need more than one determination.

      Paragraph (i)(1) says “a determination ... under subsection (b)(4)(A) that

a chemical substance does not present an unreasonable risk” is also a

reviewable action. 15 U.S.C. § 2605(i)(1). This clause too incorporates the

(b)(4)(A) terms. That it refers to “a determination,” singular, is simply because

each determination about the risks from an activity would be “a

determination” constituting a final action. There could certainly be more

than one determination; “the indefinite article ‘a[]’” makes the provision

“indeterminant,” see U.S. Sugar Corp. v. EPA, 113 F.4th 984, 993 (D.C. Cir. 2024).

Section 18(a)(1)(B) then preempts state laws restricting “the manufacture,

processing, or distribution in commerce or use of a chemical substance ... for

which the determination described in [paragraph (i)(1)] is made.” Opp.44.

EPA concludes this means a single determination for each substance.

Actually, this provision expressly refers to determinations about activities,

just like subsection (6)(A). Furthermore, the preemption must be “consistent




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with the scope of the risk evaluation,” 15 U.S.C. § 2617(a)(1)(B)—and as noted

paragraph (b)(4)(A) calls for multiple evaluations for a given substance.

      Paragraph (b)(4)(D) tells EPA to provide notice about what “conditions

of use” it “expects to consider” in each evaluation. Olin-Br.17. EPA says this

just means notice about what EPA thinks the conditions of use are, in a whole-

chemical evaluation addressing all of them. Opp.33. That view renders

“expects to consider” superfluous. If EPA must address all a chemical’s

conditions of use in a single evaluation, the only question is what those

conditions of use actually are—a judgment already prescribed by 15 U.S.C.

§ 2602(4).   Paragraph (b)(4)(D) only needed to require notice of the

“conditions of use.” To have any meaning, the additional phrase “expects to

consider,” necessarily implies EPA decides which conditions of use a given

evaluation will cover.

      Paragraph (b)(4)(F)(v) requires EPA to describe the “evidence for the

identified hazard and exposure.” Olin-Br.17. EPA says “exposure” is a “term[]

of art,” Opp.53—a proposition for which it provides no support—but does not

explain why that would matter. EPA cannot deny that paragraph (b)(4)(F)(v)

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ties each evaluation to a given hazard; the hazard results from an exposure,

and the exposure arises from a particular activity.

II.   EPA’S PRESUMPTION AGAINST PPE IS UNLAWFUL.

      Facial challenges to rules are “presumptively” ripe. Sabre, Inc. v. Dep’t. of

Transp., 429 F.3d 1113, 1119 (D.C. Cir. 2005). EPA asserts Olin’s challenge about

PPE is not, because an as-applied challenge would be possible later. Opp.60.

That is true for every facial challenge—the Supreme Court long ago rejected

that sort of argument. Abbott Labs. v. Gardner, 387 U.S. 136 (1967).

      EPA offers no analysis under this Court’s standard for determining

ripeness: “the fitness of the issues for judicial decision and the hardship to the

parties of withholding court consideration.” Nat’l Assoc. of Mfrs. v. Dep’t of

Interior, 134 F.3d 1095, 1119 (D.C. Cir. 1998). The challenge here is “purely

legal,” Abbott Labs., 387 U.S. at 149, namely whether EPA can validly demote

PPE below other conditions of use by a special presumption of non-use.

National Association of Manufacturers addressed challenges to a rule allowing an

agency to calculate natural-resource damages using “combined Type A and

Type B procedures.” 134 F.3d at 1119. General Electric Company v. Department of


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Commerce reviewed a rule permitting the use of “contingent valuation” in a

certain assessment process.       128 F.3d 767, 772 (D.C. Cir. 1997).      The

presumption against PPE in risk evaluations is more concrete than those

issues.

      The hardship to Olin from not addressing this issue now is manifest.

EPA has ongoing risk evaluations, under the Risk Framework Rule, for

chemicals Olin manufactures. Olin and other commenters must spend

substantial resources proving—to EPA’s startlingly high evidentiary bar—

PPE is used in a given activity. Olin-Br.19.

      On the merits, EPA insists it considers available information in each

risk evaluation. But that avoids the issue. EPA denies it makes “assumptions.”

Opp.78.     Actually, a typical risk evaluation includes an entire section

discussing EPA’s “key assumptions” for the given evaluation. Methylene

Chloride Final Risk Evaluation (2020) at 428, JA__. EPA’s brief reveals EPA’s

one-sided     attitude   about   assumptions:       EPA    will   “take   into

account … reasonably foreseen circumstances where … workers are exposed

due to the absence or ineffective use of [PPE].” Opp.73. Thus EPA is willing to

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make assumptions (“reasonably foreseen”) of “absence or ineffective use,” but

rejects assumptions of presence or effective use. Refusing to ever make

assumptions in favor of PPE simply shifts the burden of proof and persuasion

on this issue. “[A]ssigning the burden of proof is not a magic wand that frees

an agency from the responsibility of reasoned decisionmaking.” Kansas Gas &

Elec. Co. v. FERC, 758 F.2d 713, 721 (D.C. Cir. 1985). By stating “EPA will not

consider exposure reduction based on assumed use of [PPE],” 89 Fed. Reg.

at 37,055 (codified at 40 C.F.R. 702.40(f)(2)), EPA required proof from any

person believing PPE should be part of the conditions of a given use.

      EPA tries to distinguish Maine Lobstermen’s Association v. National Marine

Fisheries Service, 70 F.4th 582 (D.C. Cir. 2023), on grounds that EPA is not using

“worst case scenario[s].” Opp.85. That case’s true lesson is that when an

agency must use the “best available” evidence—as EPA must under TSCA, the

agency cannot “merely presum[e] that unavailable data, if only they could be

produced, would weigh” in one direction or another. 70 F.4th at 599. An

agency must not “jump to a substantive presumption that distorts the

analysis of effects and creates false positives.” Id. at 600. That is what EPA

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did. There will be many circumstances where, on a case-by-case basis, an

assumption of PPE use is well-justified. Yet the Risk Framework Rule

commits EPA not to account for PPE use unless the evidence shows, for

example, that “performance of a condition of use is impossible in the absence

of PPE.” Response to Comments at 31, JA__. That is a different and higher

burden than for any other condition of use.

      EPA says the record shows “noncompliance [with PPE requirements]

does occur.” Id.; Opp.71. That is not enough. “[A]n evidentiary presumption

is ‘only permissible if … proof of one fact renders the existence of another fact

so probable that it is sensible and timesaving to assume the truth of [the

inferred] fact.’” Nat’l Mining Assoc. v. Dep’t of Interior, 177 F.3d 1, 6 (D.C. Cir.

1999). National Mining invalidated a presumption that 10% ownership of a

company constitutes control. “While ten per cent ownership may, under

specific circumstances, confer control, [the agency] cited no authority for the

proposition that it is ordinarily likely to do so.” Id. at 6-7 (emphasis added).

Similarly, that some employers have violated PPE requirements falls far short




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of showing workers are “ordinarily likely” to be without PPE, as would be

necessary to justify EPA’s presumption against PPE use.

III.   INCLUDING “OVERBURDENED COMMUNITIES” WAS
       UNLAWFUL.

       EPA does not dispute that “overburdened communities,” as defined in

the Rule, are not “potentially exposed or susceptible subpopulations” as TSCA

uses that phrase. Olin-Br.22-23; Opp.87-88. EPA protests it will also consider

other subpopulations, Opp.87-88; but accounting for those other groups does

not make “overburdened communities” a valid consideration. EPA also

denies it committed to considering overburdened communities. EPA simply

claims discretion to consider any subpopulations the Rule describes.

Opp.87-88.    Actually, the Rule says EPA “will” consider the risks to

“potentially exposed or susceptible subpopulations”—a term the Rule defines

to include “overburdened communities.”         40 C.F.R. 702.39(e)(1), 702.33.

“Will” is a “term[] of command.” Am. Business Assoc. v. United States, 627 F.2d

525, 532 (D.C. Cir. 1980). The Rule itself promised away EPA’s asserted

discretion.



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      Olin’s challenge is ripe, for the same reason. The Rule spells out EPA’s

commitment to account for “overburdened communities.” Whether that is

valid is a purely legal question. And Olin, as a participant in ongoing risk

evaluations, needs to know whether it must develop evidence not just about

communities with different exposures to a given substance, but also about

those with “lack of opportunity for public participation,” 89 Fed. Reg.

at 37,039. The stakes in risk-evaluation processes are massive; these are, as

EPA says, the “toll gate” for crushing TSCA regulation. How EPA carries them

out is an issue ripe for resolution.

February 3, 2025                            Respectfully Submitted,

                                            /s/ Keith Bradley
                                            KEITH BRADLEY
                                            KAYLA MARIE MENDEZ
                                            717 17th Street, Suite 1825
                                            Denver, CO 80202
                                            T: (303) 830-1776
                                            keith.bradley@squirepb.com

                                            SAMUEL B. BALLINGRUD
                                            2550 M Street, NW
                                            Washington, DC 20037

                                            KATHERINE WENNER



                                       15
     2000 Huntington Center
     41 South High Street
     Columbus, Ohio 43215
     SQUIRE PATTON BOGGS (US) LLP

     W. CAFFEY NORMAN
     2550 M Street, NW
     Washington, D.C. 20037
     Tel: (202) 460-9495
     caffeynorman@outlook.com
     NORMAN LAW & POLICY PLLC

     Counsel for Olin Corporation




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                         CERTIFICATE OF COMPLIANCE

      This document complies with the Court’s order filed on September 9,

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                                          /s/ Keith Bradley
                                          Keith Bradley




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